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 Plaintiffs’ Exhibit I
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                        Exhibits Not Previously Produced
Keser Declaration
   •   Exhibit AA—Device packaging for Cricket Ovation
   •   Exhibit AC—Device packaging for Cricket Vision 2
   •   Exhibit AD—Device packaging for Cricket Vision 2
   •   Exhibit AE—Device packaging for HTC Desire 510
   •   Exhibit AF—Cricket Terms & Conditions for HTC Desire 510
   •   Exhibit AG—Device packaging for HTC Desire 512
   •   Exhibit AH—Device packaging for HTC Desire 520
   •   Exhibit AI—Device packaging for HTC Desire 555
   •   Exhibit AK—Device packaging for HTC Desire 625
   •   Exhibit AL —Device packaging for HTC Desire 626s
   •   Exhibit AN—Device packaging for Kyocera Hydroview
   •   Exhibit AP—Device packaging for LG Escape Plus
   •   Exhibit AQ—Device packaging for LG Escape 2
   •   Exhibit AR—Device packaging for LG Escape 3
   •   Exhibit AT—Device packaging for LG Fortune 2
   •   Exhibit AV—Device packaging for LG Stylo
   •   Exhibit AW—Cricket Terms & Conditions for LG Stylo
   •   Exhibit AX—Device packaging for LG Harmony 2
   •   Exhibit AZ—Device packaging for LG Harmony 4
   •   Exhibit BA—Device packaging for LG K92 5G
   •   Exhibit BB—Cricket Terms & Conditions for LG K92 5G
   •   Exhibit BC—Device packaging for LG Optimus L70
   •   Exhibit BD—Cricket Terms & Conditions for LG Optimus L70
   •   Exhibit BE—Device packaging for LG Risio
   •   Exhibit BG—Device packaging for LG Risio 3
   •   Exhibit BH—Device packaging for LG Risio 4
   •   Exhibit BI—Device packaging for LG Spree
   •   Exhibit BK—Device packaging for LG Stylo 2
   •   Exhibit BM—Device packaging for LG Stylo 3
   •   Exhibit BN—Cricket Terms & Conditions for LG Stylo 3
   •   Exhibit BO—Device packaging for LG Stylo 4
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•   Exhibit BQ—Device packaging for LG Stylo 6
•   Exhibit BS—Device packaging for LG-B460
•   Exhibit BU—Device packaging for LG X Charge
•   Exhibit BV—Device packaging for LG X power
•   Exhibit BW—Device packaging for Microsoft Lumia 640
•   Exhibit BY—Device packaging for Microsoft Lumia 650
•   Exhibit CA—Device packaging for Motorola Moto E LTE
•   Exhibit CB—Device packaging for Motorola Moto G LTE
•   Exhibit CC—Device packaging for Motorola Moto e5 Cruise
•   Exhibit CE—Device packaging for Motorola Moto G6 Forge
•   Exhibit CF—Device packaging for Nokia 3.1 C
•   Exhibit CH—Device packaging for Nokia 3.1 Plus
•   Exhibit CJ—Device packaging for Nokia C2 Tava
•   Exhibit CK—Device packaging for Nokia C5 Endi
•   Exhibit CL—Device packaging for Nokia Lumia 520
•   Exhibit CM—Cricket Terms & Conditions for Nokia Lumia 520
•   Exhibit CN—Device packaging for Nokia Lumia 530
•   Exhibit CO—Cricket Terms & Conditions for Nokia Lumia 530
•   Exhibit CP—Device packaging for Nokia Lumia 630
•   Exhibit CQ—Cricket Terms & Conditions for Nokia Lumia 630
•   Exhibit CR—Device packaging for Nokia Lumia 635
•   Exhibit CS—Cricket Terms & Conditions for Nokia Lumia 635
•   Exhibit CT—Device packaging for Nokia Lumia 1320
•   Exhibit CU—Cricket Terms & Conditions for Nokia Lumia 1320
•   Exhibit CV—Device packaging for Samsung Denim
•   Exhibit CW—Cricket Terms & Conditions for Samsung Denim
•   Exhibit CX—Device packaging for Samsung Galaxy A01
•   Exhibit CZ—Device packaging for Samsung Galaxy A6
•   Exhibit DB—Device packaging for Samsung Galaxy A51
•   Exhibit DD—Device packaging for Samsung Galaxy Amp 2
•   Exhibit DE—Device packaging for Samsung Galaxy Amp Prime
•   Exhibit DG—Device packaging for Samsung Galaxy Amp Prime 2
•   Exhibit DI—Device packaging for Samsung Galaxy Amp Prime 3
•   Exhibit DK—Device packaging for Samsung Galaxy Grand Prime
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•   Exhibit DM—Device packaging for Samsung Galaxy Halo
•   Exhibit DO—Device packaging for Samsung Galaxy S4
•   Exhibit DQ—Device packaging for Samsung Galaxy S5
•   Exhibit DR—Cricket Terms & Conditions for Samsung Galaxy S5
•   Exhibit DS—Device packaging for Samsung Galaxy S6
•   Exhibit DU—Device packaging for Samsung Galaxy S7
•   Exhibit DW—Device packaging for Samsung Galaxy S8
•   Exhibit DY—Device packaging for Samsung Galaxy S9
•   Exhibit EA—Device packaging for Samsung Galaxy S10
•   Exhibit EC—Device packaging for Samsung Galaxy S20 FE 5G
•   Exhibit ED—Device packaging for Samsung Galaxy S20 +5G
•   Exhibit EF—Device packaging for Samsung Galaxy Sol
•   Exhibit EG—Device packaging for ZTE Altair
•   Exhibit EH—Cricket Terms & Conditions for ZTE Altair 2
•   Exhibit EO—Cricket Terms & Conditions for ZTE Grand
•   Exhibit EQ—Device packaging for ZTE Altair 2
•   Exhibit EI—Device packaging for ZTE Blade X
•   Exhibit EK—Device packaging for ZTE Fanfare
•   Exhibit EM—Device packaging for ZTE Fanfare 2
•   Exhibit EN—Device packaging for ZTE Grand
•   Exhibit EP—Device packaging for ZTE Grand X 3
•   Exhibit ER —Device packaging for ZTE Grand X 4
•   Exhibit ET—Device packaging for ZTE Grand X Max
•   Exhibit EU—Cricket Terms & Conditions for ZTE Grand X Max
•   Exhibit EV—Device packaging for ZTE Grand X Max 2
•   Exhibit EW—Cricket Terms & Conditions for ZTE Grand X Max 2
•   Exhibit EX—Device packaging for ZTE Grand X+
•   Exhibit EY—Cricket Terms & Conditions for ZTE Grand X Max+
•   Exhibit EZ—Device packaging for ZTE Overture
•   Exhibit FA—Device packaging for ZTE Overture 2
•   Exhibit FB—Cricket Terms & Conditions for ZTE Overture 2
•   Exhibit FC—Device packaging for ZTE Overture 3
•   Exhibit FD—Device packaging for ZTE Prelude 2
•   Exhibit FF—Device packaging for ZTE Sonata 2
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   •   Exhibit FG—Cricket Terms & Conditions for ZTE Sonata 2
   •   Exhibit FH—Device packaging for ZTE Sonata 3
   •   Exhibit FI —Cricket Terms & Conditions for ZTE Sonata 3
   •   Exhibit FJ—Device packaging for ZTE Sonata 4G
   •   Exhibit FK—Cricket Terms & Conditions for ZTE Sonata 4G


Garcia Declaration
Exhibit 2—Copy of current Cricket Terms displayed on Cricket’s web site, as revised
February 14, 2020.
Braxton Declaration
Exhibit A—Table indicating number of device activations (486,808) in each state.
Exhibit B—Table indicating the number of customers (247,691) who activated one or
more Cricket device after May 18, 2014.
Exhibit C – Table indicating a breakdown of devices activated by the customers
associated with each of the 247,691 customer IDs.
Exhibit D—Table indicating a breakdown of activations by state of customers who
disconnected their Cricket service before May 22, 2014 (98,526).
Exhibit E—Table indicating a breakdown of customer IDs that activated a device for
the first time on legacy Cricket network between May 23, 2014 and September 30,
2014 (6,024).
Exhibit F—Table indicating a breakdown of activations by state of customers who
activated a device between May 18, 2014 - May 21, 2014 (7,538).
Exhibit G—Table indicating a breakdown of devices of customers who activated a
device between May 18, 2014 - May 21, 2014.
